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 7
                                     UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                      )   CASE NO. 12 CR 00250 KJM
                                                  )
11                                Plaintiff,      )
                                                  )
12                                                )
     v.                                           )
13                                                )   STIPULATION AND ORDER TO
                                                  )   RELIEVE DEFENDANT OF PROPERTY BOND
14 XAVIER JOHNSON,                                )   COMPONENT OF HIS RELEASE CONDITIONS
                                                  )
15                                Defendant.      )
                                                  )
16 __________________________________             )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff; and Kyle Knapp,

20 attorney for defendant, XAVIER JOHNSON, that MR. Johnson be relieved of the requirement that his

21 father’s property be posted as secured collateral. Further, that he may remain released on the $50,000.00

22 unsecured property bond with his father and sister as sureties.

23          On August 17, 2012 at Mr. Johnson’s detention hearing, the Honorable Gregory Hollows ordered

24 that a component of Mr. Johnson’s $50,000.00 bond be secured by whatever equity existed in a Toledo,

25 Ohio property owned by Mr. Johnson’s father. According to Zillow, the Ohio property had a

26 prospective value of over $20,000.00.

27          In the course of garnering the bond paperwork we secured an appraisal on the property. It came

28 back with a value of only $500.00, as the property is currently uninhabitable. The
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 1 cost to secure the governments interest in the property far outstrips the value of the property.

 2          Mr. Johnson is in compliance with all other terms and conditions of his release. He has remained

 3 in communication with his pre-trial services officer and tested negative on all occasions. He surrendered

 4 his passport.

 5          Accordingly, counsel for the government and the defendant hereby stipulate that Mr. Johnson

 6 remain out of custody on the $50,000.00 unsecured bond and that he be relieved of the condition that his

 7 father’s Ohio property be posted.

 8 Dated: September 18, 201                                      Respectfully submitted.

 9
                                                                   /s/ Kyle R. Knapp
10                                                               Kyle R. Knapp
                                                                 Attorney for Defendant, Xavier Johnson
11

12 Dated: September 18, 2012                                     Respectfully submitted.

13
                                                                   /s/ Matthew Morris
14                                                               Matthew Morris
                                                                 Assistant U.S. Attorney
15                                                               Attorney for Plaintiff

16

17                                                   ORDER

18 IT IS HEREBY ORDERED that Mr. Johnson’s release conditions be modified so that he is no longer

19 required to post his father’s Ohio property and that he remain free on his $50,000.00 unsecured property

20 bond. All other terms and conditions will remain in effect.

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23 Dated: September 20, 2012

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26

27                                                       _____________________________________
                                                         KENDALL J. NEWMAN
28                                                       UNITED STATES MAGISTRATE JUDGE


                                                          2                                   12CR00250-KJM
